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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF COLUMBIA


PENGCHENG SI, Individually and on Behalf   Case No. 1:22-cv-02541-TNM
of All Others Similarly Situated,

                          Plaintiff,

                   v.

BED BATH & BEYOND CORPORATION,
RYAN COHEN, RC VENTURES LLC, and JP
MORGAN SECURITIES LLC,

                          Defendants.



                       MOTION OF BRATYA SPRL
                FOR APPOINTMENT AS LEAD PLAINTIFF AND
                  APPROVAL OF SELECTION OF COUNSEL
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TO: ALL PARTIES AND THEIR COUNSEL OF RECORD

       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law in support

of its motion filed herewith, Bratya SPRL (“Bratya”) hereby moves this Court, pursuant to Section

21D(a)(3) of the Securities Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(3), as amended by the

Private Securities Litigation Reform Act of 1995, for an Order: (1) appointing Bratya as Lead

Plaintiff on behalf of all purchasers of Bed Bath & Beyond Corporation (“Bed Bath”) common

stock (including those who bought to cover a short position) or Bed Bath call options, or sold Bed

Bath put options, from August 12, 2022 through August 18, 2022, inclusive (the “Class”); and (2)

approving proposed Lead Plaintiff’s selections of Pomerantz LLP and Bronstein, Gewirtz &

Grossman, LLC as Co-Lead Counsel and Cohen Milstein Sellers & Toll PLLC as Liaison Counsel

for the Class.

Dated: November 7, 2022                      Respectfully submitted,

                                             /s/ Steven J. Toll
                                             COHEN MILSTEIN SELLERS & TOLL PLLC
                                             Steven J. Toll (D.C. Bar No. 225623)
                                             Daniel S. Sommers (D.C. Bar No. 416549)
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                                             Counsel for Lead Plaintiff Movant Bratya SPRL
                                             and Proposed Liaison Counsel for the Class

                                             POMERANTZ LLP
                                             Jeremy A. Lieberman
                                             (pro hac vice application forthcoming)
                                             J. Alexander Hood II
                                             (pro hac vice application forthcoming)
                                             600 Third Avenue, 20th Floor



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                           GROSSMAN, LLC
                           Peretz Bronstein
                           (pro hac vice application forthcoming)
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                           Counsel for Lead Plaintiff Movant Bratya SPRL
                           and Proposed Co-Lead Counsel for the Class




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                                 CERTIFICATE OF SERVICE

       I certify that on this 7th day of November 2022 I electronically filed the foregoing
document and that it will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing.

                                               /s/ Steven J. Toll
                                               Steven J. Toll




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